Case 2:Ol-cv-02478-BBD-dkv Document 261 Filed 08/24/05 Page 10f14 Page|H/ZSB

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THE cLARK coNsTRUcTIoN GRouP, INC.,) `J ""';”j"r""°

Plaintiff,

v. No. 01-24'78 DV
EAGLE AMALGAMATED SERVICE, INC.;
CAPITOL INDEMNITY CORPORATION;

INVESTORS INSURANCE COMPANY OF

AMERICA; FIRS'I` SPECIALTY INSURANCE;)
LEXINGTON INSURANCE COMPANY; and )
RLI INSURANCE COMPANY, )

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Defendaots. )
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ORDER GRANTING DEFENDANT RLI INSURANCE COMPANY’S
CROSS MOTION FOR SUMMARY JUDGMENT

 

This matter is before the Court on the motion (dkt. # 227) of Defendant RLI Insurance
Company (“Defendant” or “RLI”) for summary judgment as to RLI’s duty to indemnify Plaintiff
CIark Construction Group, LLC, successor in interest to Clark Construction Group, Inc.
(“Plaintiff").1 For the reasons stated herein, Defendant’s motion is GRANTED.

I. FACTUAL BACKGROUND

In February, 1999, Plaintiff entered into a Written contract With the City ofMemphis (“City”)

 

'Although Defendant styles the motion as a cross motion for summary judgment,
Plaintist motion for summary judgment was stricken in the Court’s February 17, 2004 Order
Striking Motions Without Prejudice. Clark never sought to restore that motion, so it is not a
pending motion, Therefore, the Court will consider Defendant’s motion as simply a motion for
summary judgment

Case 2:Ol-cv-02478-BBD-dkv Document 261 Filed 08/24/05 Page 2 of 14 Page|D 366

and the Memphis Cook Convention Commission (collectively “the owners”) for the renovation,
expansion, and construction of the Memphis Cook Convention Center in Memphis, Tennessee (the
“project”). The project included demolition of the Concourse Hall, a structure attached to the
existing convention center.

On or about February 16, 1999, Plaintiff and Eagle Amalgamated Service, Incorporated
(“Eagle”), entered into a written subcontract (“subcontract”). Under the terms of the subcontract,
Eagle agreed to undertake demolition of the Concourse Hall, as well as other selective demolition
and asbestos abatement work at the project site. Eagle was required to purchase insurance and to
defend and indemnify Plaintiff against all claims, expenses, damages, and losses arising out of or
in connection with the work ofEagle or any of its subcontractors Eagle purchased a comprehensive
general liability (“CGL”) policy from lnvestors Insurance Company (“Investors”) and an excess
policy from RLI. The Investors policy provided primary insurance up to a limit of $1 million per
occurrence The RLI policy (“policv’) provided excess coverage of up to $9 million if the Investors
policy is exhausted

Eagle retained Engineered Demolition, Inc. (“Engineered”) to assist with demolition of the
Concourse Hall. Engineered was also required to purchase insurance, with Plaintiff as an additional
insured on the policies. Engineered purchased the required coverage from Lexington Insurance
Company (“Lexington”) for primary coverage, and First Specialty Insurance (“First Specialty”) for
excess coverage With its agents and subcontractors, Eagle performed all of the preparatory work
associated with the implosion of the Concourse Hall.

On October 10, 1999, Eagle and Engineered performed the scheduled implosion of the

Concourse Hall. This action damaged the adjacent Convention Center. Engineered employees

Case 2:Ol-cv-O2478-BBD-dkv Document 261 Filed 08/24/05 Page 3 of 14 Page|D 367

subsequently left the project site without participating in the complex clean-up efforts necessitated
by the unexpected results of their demolition work. Several months later, Eagle also abandoned the
project prior to fulfilling the terms of the subcontract

On October l l, 1999, the owners informed Plaintiff that they would hold Plaintiff responsible
for all costs associated with repairing the damage resulting from the October lOth implosion. On
October 12, 1999, Plaintiff notified Eagle, Lexington, First Specialty, Investors, and RLI of the
owners’ claims and demanded that Eagle and each of the insurers indemnify Plaintiff for its damages
and losses arising from the accident Plaintiff filed an action against the owners, claiming that design
problems caused delays and increased costs. The owners filed a counterclaim against Plaintiff,
alleging that the accident delayed the project by at least 170 days, increasing the costs of the proj ect,
and resulting in over $l million in property damages and extensive clean up costs. Those claims are
being litigated in a separate case in this district. (Clark Construction Groun. Inc. v. Citv of Memnhis.
case number 04-2780).

On June 20, 2001, Plaintiff filed the instant complaint alleging claims against Eagle and the
insurers, including RLI. On May 11, 2005, Defendant filed a motion for summary judgrnent, as to
its duty to indemnify Plaintiff.

II. LEGAL STANDARD

Summary judgment is proper “if the pleadings, depositions, answers to interrogatories, and
admissions on file, together with the affidavits, if any, show that there is no genuine issue as to any
material fact and that the moving party is entitled to a judgment as a matter of law.” Fed. R. Civ.
P. 56(0). ln other words, summary judgment is appropriately granted “against a party who fails to

make a showing sufficient to establish the existence of an element essential to that party’s case, and

Case 2:01-cv-O2478-BBD-dkv Document 261 Filed 08/24/05 Page 4 of 14 Page|D 368

on Which that party will bear the burden of proof at trial." Celotex Cog:_). v. Catrett, 477 U.S. 317,
322 (1986).

The party moving for summary j udgment may satisfy its initial burden of proving the absence
of a genuine issue of material fact by showing that there is a lack of evidence to support the
nonmoving party’s case. E. at 325. This may be accomplished by submitting affirmative evidence
negating an essential element of the nonmoving party’s claim, or by attacking the opponent’s
evidence to show why it does not support a judgment for the nonmoving party. 10a Charles A.

Wright et al., Federal Practice and Procedure § 2727, at 35 (2d ed. 1998).

 

Facts must be presented to the court for evaluation Kalamazoo River Study Group V.
Rockwell Int’l Corp., 171 F.3d 1065, 1068 (6th Cir. 1999). The court may consider any material that
would be admissible or usable at trial. 10a Charles A. Wright et al., Federal Practice and Procedure
§ 2721, at 40 (2d ed. 1998). Although hearsay evidence may not be considered on a motion for
summary judgment Jacklm v. Schering-Plougl_i Healthcare Prods. Sales Co;p., 176 F.3d 921, 927
(6th Cir. 1999), evidentiary materials presented to avoid summary judgment otherwise need not be

in a form that would be admissible at trial. Celotex, 477 U.S. at 324; Thaddeus-X v. Blatter, 175

 

 

F.3d 378, 400 (6th Cir. 1999).
ln evaluating a motion for summary judgment all the evidence and facts must be viewed in
a light most favorable to the nonmoving party. Mat§ushita Elec. lndus. Co. v. Zenith Radio Corn.,

475 U.S. 574, 587 (1986); Wade v. Knoxville Utilities Bd., 259 F.3d 452, 460 (6th Cir. 2001).

 

Justifiable inferences based on facts are also to be drawn in favor of the non-movant Kalamazoo
River, 171 F.3d at 1068.

Once a properly supported motion for summary judgment has been made, the “adverse party

Case 2:01-cv-O2478-BBD-dkv Document 261 Filed 08/24/05 Page 5 of 14 Page|D 369

may not rest upon the mere allegations or denials of [its] pleading, but . . . must set forth specific
facts showing that there is a genuine issue for trial.” Fed. R. Civ. P. 56(e). A genuine issue for trial
exists if the evidence would permit a reasonable jury to return a verdict for the nonmoving party.
Anderson v. Libertv Lobbv. Inc.. 477 U.S. 242, 248 (1986). To avoid summary judgment the
nonmoving party “must do more than simply show that there is some metaphysical doubt as to the
material facts.” Matsushita, 475 U.S. at 586.
III. ANALYSIS

As an initial matter, because questions of contract interpretation are at issue, the Court must
determine which state’s substantive law applies. In a case such as this one, which is brought under
a federal court’s diversity jurisdiction, the substantive law of the forum state controls m
Industries Inc. v. Van Deilen Intern. Inc., 182 F.3d 490 (6th Cir. 1999). Thus, Tennessee’s rules
concerning conflict of laws Would control in this case. Under Tennessee law, if the policy in

question does not specify, courts apply the laws of the state in which the policy was issued and

delivered. Hutchinson v. Tennessee Farmers Mut. lns. Co., 652 S.W.2d 904, 905 (Tenn. Ct. App.

 

1983). Here, the insurance policy was issued by Defendant and delivered to Eagle, the primary
insured. Both Defendant and Eagle are located in Florida, and it is undisputed that the policy was
delivered to Eagle in Florida. Although Plaintiff, who is located in Tennessee, is additionally insured
on the policy and the policy was delivered to Plaintiff in Tennessee, Plaintiff is only an ancillary
beneficiary to the policy. Therefore, the Court holds that Fiorida’s contract laws apply.
Defendant moves for summary judgment as to its duty to indemnify Plaintiff. Defendant
argues that l) the City does not allege claims that trigger Defendant’s duty to indemnify Plaintiff

because the liquidated damages are based on breach of contract, not property damage and, thus, are

Case 2:01-cv-O2478-BBD-dkv Document 261 Filed 08/24/05 Page 6 of 14 Page|D 370

not covered under the policy, and 2) Plaintiff’s settlement with Engineered’s insurers without the
consent of RLI releases Defendant from its obligations under the policy.
A. Polic_v Coverage

Defendant first contends that the allegations of the City do not trigger RLI’s duty to
indemnify Plaintiff. Defendant asserts that the City alleges breach ofcontract, which is not covered
under the policy, Defendant further maintains that the City is not seeking to recover any implosion-
related property damage from Plaintiff and that Plaintiff has acknowledged that it has been fully
compensated for any property damage associated with the implosion.

Plaintiff argues that the liquidated damages sought by the City are a measure of the actual
damages associated With the property damage created by the implosion, which is covered under the
policy. Moreover, Plaintiff insists that the delay costs are a result of the property damage caused by
the implosion, not breach of contract

While the policy specifies that it covers property damage caused by an “occurrence,”
Defendant contends that the City’s claims against Plaintiff are based on Plaintiff' s breach of its
contract with the City and not on the property damage that resulted from the implosion. Defendant
notes that the policy covers tort liability but not breach of contract

The policy states that RLI agrees to pay damages that are “because of’ property damage As
previously noted, Plaintiff asserts that the liquidated damages sought by the City are a measure of
the actual damages caused by the delay that resulted from the implosion, not a penalty for breach of
contract Thus, the damages would be “because of” the property damage and would be covered
under the policy.

Defendant argues that there is no clause in the policy specifically covering liquidated

Case 2'01-cv-O2478-BBD-dkv Document 261 Filed 08/24/05 Page 7 of 14 Page|D 371

damages However, “ambiguities in insurance policies are to be construed against the drafter of the
policy.” St. Paul Fire and Marine Ins. Co. v. Tornoco, 879 S.W.2d 831, 835 (Tenn. 1994). RLI
created a policy that included coverage for damages that are “because of” property damages, and did
not specifically exclude the damages being sought in this case Defendant had every opportunity to
exclude any type of conduct it wished to exclude from coverage under the policy. §e_e i_d_.
Defendant’s assertion now that liquidated damages are not covered under the policy, even though
they are a direct result of property damage that was clearly covered under the policy, is without merit
because there is no exclusionary clause in the policy for liquidated damages like the ones being
sought here. S_ee i_cL

Defendant asserts that the policy contains a contractor’s limitation endorsement which
specifically excludes liability from breach of contract However, there are times when an insurance
policy provides coverage for claims that are partly based in breach of contract M American F amin
Mut. lns. Co. v. American Girl$i_g, 673 N.W.2d 65, 75 (Wis. 2004). Although the policy contains
an exclusion for property damage that the insured is obligated to pay because of contract liability,
there is an exception that states that the exclusion does not apply to liability for damages that the
insured would have if there were no contract The Florida Supreme Court has stated that “insurance
contracts are construed in accordance With the plain language of the policies as bargained for by the
parties.” Auto-Owners lns. Co. v. Ande_r§o_n, 756 S0.2d 29, 34 (Fla. 2000). Moreover, the Court
has also stated that if the policy language is ambiguous, “it should be construed against the drafter
and in favor of the insured; and, that ambiguous exclusionary clauses are ‘construed even more

strictly against the insurer than coverage clauses.”’ General Security Nat. Ins. Co. v. Marsh, 303

F.Supp.2d 1321, 1324 (M.D. Fla. 2004). “Florida law also requires the Court to consider the policy

Case 2:01-cv-O2478-BBD-dkv Document 261 Filed 08/24/05 Page 8 of 14 Page|D 372

as a whole, and to give meaning to all of its terms.” §§

ln construing the policy in favor of the insured and considering the meaning and purpose of
the policy as a whole, the Court finds that the exclusion, while somewhat ambiguous under the
circumstances, does not necessarily preclude the Plaintiff from coverage under the policy. Thus, the
City’s claims against Clark may trigger coverage under the policy.
B. Settlement

Defendant contends that when Plaintiff reached a settlement agreement with First Specialty,
it breached its obligations under the cooperation clause of the policy, Because First Specialty is the
insurer for Engineered, which is the tortfeasor, Defendant argues that Plaintiff should not have
released First Specialty without first giving the Defendant notice of its intention to do so. Defendant
asserts that entering into a settlement agreement with First Specialty and releasing it without first
providing notice to Defendant violated the terms of the policy. Plaintiff argues that Defendant
waived its right to assert a breach of the cooperation clause by failing to participate in settlement
negotiations and by failing to request Plaintiff’ s cooperation However, Plaintiff only asserts that
RLI did not participate in settlement negotiations between RLI and Plaintiff when invited to do so.
Plaintiff does not contend that Defendant was invited to participate in negotiations between Plaintiff
and First Specialty. Defendant insists that it was turned away from mediation involving First
Specialty and was never notified of Plaintiff’s decision to settle with First Specialty.

Plaintiff maintains that because the policies of First Specialty and RLI are both excess
policies, the indemnity costs should be shared pro rata. However, Defendant notes that the two
policies differ significantly First Specialty’s “other insurance” clause states that the coverage is

excess over other valid insurance, whether primary or excess. RLI’s “other insurance” clause goes

Case 2:01-cv-O2478-BBD-dkv Document 261 Filed 08/24/05 Page 9 of 14 Page|D 373

farther, stating that RLI will not contribute with other insurance In Aetna Cas. & Sur. Co. v. Beane,
385 So.2d 1087 (Fla. Ct. App. 1980), the court examined two competing excess policies like the two
at issue here Because of the additional language in one policy stating that the carrier will not
contribute with other insurance, the court held that the coverage should not be shared on a pro rata
basis. § at 1090.

Similarly, here, RLI’s policy includes the same “will not contribute with other insurance”

language analyzed in Aetna. Thus, the indemnification costs should not be distributed on a pro rata

 

basis, as asserted by Plaintiff`. Instead, First Specialty’s policy must first be exhausted before RLI’s
policy goes into effect

Under the policy, Defendant is ensured the subrogation right to recover any payment made
by Defendant that is later received from another party. When Plaintiff settled with First Specialty,
it effectively deprived RLI of its subrogation rights under the policy. Because the policy clearly
states that Defendant’s coverage does not begin until all underlying policies, both primary and
excess, are exhausted, Plaintiffprejudiced Defendant when it released First Specialty for a fraction
of the limits of its policy. Thus, Plaintiff violated the cooperation clause of the policy with
Defendant when it settled with First Specialty without notifying RLI or allowing it to participate in
the negotiations

Accordingly, Defendant is not required to indemnify Plaintiff and RLI’s motion for summary

judgment is granted.

Case 2'01-cv-O2478-BBD-dkv Document 261 Filed 08/24/05 Page 10 of 14 Page|D 374

IV. CONCLUSION

F or the foregoing reasons, Defendant’s motion for summary judgment as to RLI’s duty to

indemnify Plaintiff against the City is GRANTED.

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rr rs so 0RDERED this 23 day orAugusr, 2005.

 

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August 26, 2005 to the

parties listed.

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Case 2:01-cv-O2478-BBD-dkv Document 261 Filed 08/24/05 Page 12 of 14 Page|D 376

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Case 2:01-cv-O2478-BBD-dkv Document 261 Filed 08/24/05 Page 13 of 14 Page|D 377

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Case 2:01-cv-O2478-BBD-dkv Document 261 Filed 08/24/05 Page 14 of 14 Page|D 378

Honorable Bernice Donald
US DISTRICT COURT

